    Case 5:21-cr-00003-TES-CHW Document 418 Filed 05/05/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                           MACON and COLUMBUS DIVISIONS

UNITED STATES OF AMERICA

       v.                                             CASE NO. 5:21-CR-003-TES

ARMARD DAVIS



                             AMENDED SCHEDULING ORDER

       This matter is before the Comt pursuant to the patties' joint motion to (I) continue the trial

date and (2) extend deadlines in the Comt's Scheduling Order at Docket Entry 415. The motion

is GRANTED.

       The indictment names eleven (11) defendants in one hundred and thirty-six (136) counts.

This case involves an investigation that began in mid-2019 and included controlled purchases of

cocaine and cocaine base, wiretap interceptions from five (5) phone lines, and a number of search

warrants of premises, and electronic devices. With the exception ofDefendantArmard Davis, the

cases against the other defendants have been resolved.

       The charges in this case include cocaine and cocaine base distribution conspiracy,

substantive counts of possession with intent to distribute cocaine and cocaine base, conspiracy to

participate in an animal fighting venture, as well as substantive counts of sponsoring and exhibiting

a dog in an animal fighting venture, and possession of animals for animal fighting venture.

       On October 6, 2021, the Court held a hearing regarding an ex patte motion to withdraw as

attorney. Doc. 322. Following the hearing, the Comt granted the motion, and indicated that it

would appoint another attorney to represent Defendant. Id. On October 18, 2021, Bruce S. Harvey

filed a notice of appearance to represent Defendant. Doc. 332.
       Case 5:21-cr-00003-TES-CHW Document 418 Filed 05/05/22 Page 2 of 3




         The discovery in this case is voluminous. The materials amount to over 690 gigabytes of

information including documents, photographs, audio and video recordings, and intercepted calls

and text messages from five separate phone lines. On October 21, 2021, the Government provided

discovery to counsel for Defendant. Doc. 333.

         On November 16, 2021, Defendant was charged in a separate case in this district (5:21-

CR-63-MTT). The indictment in that case charges Defendant with conspiracy to distribute

controlled substances and possession of methamphetamine with intent to distribute. Eight other

co-defendants are named in the indictment. On February 10, 2022, Bruce S. Harvey filed a notice

of appearance to represent Defendant in that case. Doc. 129.

         On February 15, 2022, the Court granted Defendant's motion to continue the March 14,

2022 trial, Doc. 398, and set the case for trial beginning on June 13, 2022, Doc. 400. The Court

fu1ther deemed the corresponding delay excludable pursuant to the provisions of the Speedy Trial

Act,    18 U.S.C.    § 3161, specifically,     18 U.S.C.    §§ 3161 (h)(7)(A),    3161 (h)(7)(B)(i),

3161 (h)(7)(B)(ii), and 3161 (h)(7)(B)(iv).

         On May 2, 2022, the parties filed a joint motion to continue the June 13, 2022, trial date.

For good cause shown, the Comt grants the motion, hereby continues the trial to begin on October

3, 2022, and deems the corresponding delay excludable pursuant to the provisions of the Speedy

Trial Act, 18 U.S.C. § 3161, specifically, 18 U.S.C. §§ 316l(h)(7)(A), 316l(h)(7)(B)(i),

3161 (h)(7)(B)(ii), and 3161 (h)(7)(B)(iv).

         The Court fmther amends and supplements the Scheduling Order as follows:

 09/15/2022 Requests to Charge due; Proposed verdict form due; Motion in limine responses
            due; Voir dire objections due.
 09/22/2022 Final pretrial conference and motions hearing on all pending motions.
     Case 5:21-cr-00003-TES-CHW Document 418 Filed 05/05/22 Page 3 of 3




 09/30/2022 Counsel shall email a proposed exhibit list and a proposed witness list to the
            courtroom      deputy     with    a    copy     to    opposmg       counsel       at
            Cheryl_Collins@gamd.uscourts.gov no later than NOON; Electronic evidence
            files should be provided to the courtroom deputy no later than NOON. Please
            review the Cou1t website page regarding comtroom technology
            httQ://www.gamd.uscourts.gov/tecbnology,       specifically    the    instructions
            concerning the Jury Evidence Recording System (JERS). All Jencks material
            including the grand jury testimony of witnesses who will be testifying at trial due.
            Failure to disclose being excused for good cause during trial.

 10/03/2022 Trial commences.


        Except as modified in this Amended Scheduling Order, the standard pre-trial order remains

in effect.


        IT IS SO ORDERED, this 5th day of May, 2022.




                                     /S/ Tilman E. Self, III
                                     TILMAN E. SELF, Ill
                                     UNITED STATES DISTRICT JUDGE
